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TERRITORY OF HAWAII

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: 1927

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COMMENCED ON WEDNESDAY, THE SIXTEENTII
DAY OF FEBRUARY, AND ENDED ON TUES-
DAY, THE THIRD DAY OF MAY.

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Case 1:19-cv-00578-JM$-RT Document 92 Filed 05/28/2¢ Page 2 of 10 PagelD.754

TT I

Act 206} . “Smatt Arms Act.” 209

ACT 206
LH. B. No. 322]

AN ACT Reeutatine THE Sace, TRANSFER AND PossEssiIoN or
Cerrain Firearms anp AMMUNITIONS, AND AMENDING
SECTIONS 2136, 2137, 2138, 2139, 2140, 2141, 2142, 2143,
2146 ano 2147 or rHe Reviseo Laws or Hawatt 1925.

_——

Be it Enacted by the Legislature of the Territory of Hawaii:

Soe Sere

wy . sae Atuenele
Section 1. Definitions. “Pistol” pr revolver” as used in this “Se ed

Act, means any firearm with barrel less than twelve inches int:
length.

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Be tek
“Crime of Violence", as used in this Act means any of the fol- ;

lowing crimes, namely, murder, manslaughter, rape, mayhem, as- }

sault to do great bodily hatm, robbery, larceny, burglary and house- tncstter|
breaking.

s

If any person,

Section 2. Committing crime when armed.
when armed with a pistol or revolver, shall commit or attempt to ig
commit an act constituting a crime of violence, he may in addition » Og
to the punishment otherwise provided for the crime, be punished
by imprisonment for not more than one year or hy a fine of not
more than one thousand dollars ($1,000.00) or by both; provided, t
that the act aforesaid be one which is capable of being committed sn
or facilitated by means of a pistol or revolver.

Srcrion 3. Being armed prima facie evidence of intent. In
the trial of a person for comunitting or attempting to commit a
crime of violence, the fact that he was armed with a pistol or
revolver and had no license to carry the same, shall be prima facie
evidence of his intention to commit said crime of violence; pro-
vided, that the criminal act committed or attempted be one which is

capable of heing committed or facilitated by means of a pistol or
revolver.

No per- ,
or elsewhere, of hav- '
ce, shall own or have

or revolver,

Section 4. Persons forbidden to possess small arms.
son who has been convicted in this territory,
ing committed or attempted a crime of vicien
in his possession or under his control, a pistol

Section 5. Carrying or keeping small
persons, Except as otherwise provided in Se
of in respect of certain licensees, no person §
sess ot have under his control a pistol or rev.

arms by unlicensed
ctions 7 and 11 here-
hall carry, keep, pos- i
olver; provided, how-

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WAIST Leh EUV YVYUYVEIEUVIVIVTINI LYVUEULINGIIL VLU EROU VUILOICYU rayo wut LY rayoi tT.

Case 1:19-cv-00578-JM¢-RT Document 930? Filed 05/28/2¢ Page 3 0f 10 PagelD.755

210 “Smatt Arms Act.” [Acr, 206

ever, that any person who shall have lawfully acquired the owner-
‘ ship or possession of a pistol or revolver’may, for purposes of
" protection and with or without a license, keep the same in the dwell

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i i ue, ing house gt business office personally occupied by him, and, in

BE! case of an unlawful attack upon any person or property in said

aa house or office, said pistol or revolver may he carried in any law-

eel: ful, hot pursuit of the assailant.

A WJ
a) me Section 6 Exceptions. The provisions of the preceding sec- "
ae tion shall not apply to marshals, sheriffs, prison or jail wardens or
a their deputies, policemen, mail carriers, or other duly appointed ;
aes law enforcement officers, or to members of the Army, Navy, oc

faa) 2 Marine Corps of the United States, or of the National Guard, when

ae i on duty, or of organizations by Jaw authorized to purchase or re- 4
ae ceive such weapons from the United States or this territory, or to ‘
iF officers or employees of the United States authorized by law to g
att tarry a concealed pistol or revolver, or to duly authorized military 4
ae) organizations when on duty, of to the members thereof when at i
ap ot going to or from their customary places of assembly, or to the

a regular and ordinary transportation of pistols or revolvers as

ei merchandise; ov to any person while carrying a pistol or yevolver

E unloaded in a wrapper from the place of purchase lo his home uo '
i EI : place of lusiness, or to a place of vepair or back to his home on “E
i a place of business or in moving goods. from one plate of abode i 4
aE . business to another i
Birt 4k .
i |; Srition 7. Issuse of Ncenses to carry. The judge ot a court

ah) of record or the sheriff of a county, or city and county, shall, upon

Pap the application of any person having a bona fide residence or place

Q of business within the jurisdiction of said licensing authority, or of

ae any person having a bona fide residence or place of business with-

rf ao. in the United States and a license to carry a pistol or revolver con-

Hee cealed upon his person or to carry one elsewhere than in his hone

f B or office, said license being issued by the authorities of any state or

ie) political subdivision of the Uniled States, issue a license to such
Peay) il person to carry a pistol or revolver within this territory elsewhere
a; than in his home or office, for nat more than one year from date
Ps of issue, if it appears that the applicant has good reason Lo fear an
Fr iF , injury to his person or property, or has any other proper reason

A be so jicensed. The license shall be in triplicate, in form to be
‘ prescribed hy the treasurer of the territory, and shall bear the
' name, address, description and signature of the licensee and the
} reason given for desiring a license. The original thereof shail be
} delivered to the licensee; the duplicate shall, within seven days, be ae
: sent by registered mail, to the treasurer of the territory and the

for carrying a pistol or revolver, and that he is a suitable person to

Case 1:19-CV-UUS/5-JMOS-K |

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Case 1:19-cv-00578-JM¢RT Document 928 r

Acr 206)

“Smact Arms Act.”

211

said license,

age of eighteen years,

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a crime of violence.

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Section 10. Dealers to be

agent shall self or otherwise ty
fer, or have in his possession with intent to sel, or otherwise

fer, any pistol or revolver w
provided.

Section 11.

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ithout being licensed as hereinafter i
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tises; by whom granted, and condi- a
lions thereof. The duly constituted licensing authorities of auy : iy
political subdivision of this territory may grant licenses in form i

“ prescribed by the treasurer of the territory, effective for nut more ae
i than one year

triplicate shall he preserved for six years by

Section 8. Selling to minors,
hire, lend, or give any pistol or revo

be a person in respect of whom there is
to the transferor, for believing that suc
or attempted, or has been convicted of

or revolver on the day when the app
statement hereinafter mentioned shall be made.
said pistol or revolver shall he sec

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1 race, nationality, color,

the caliber, make, model,
facturer's number of the Weapon, and stating that he ha:
i convicted of a crime of violence.

and forward by registered mail on

of the territory, and one copy thereof to the sheriff of the county
1 or city and county of which the seller is a resident,
“ the other copy for six years.

promptly forwarded if it is forwa
shorter time is provided therefor in regulations estaly

ransfer, ar expose for sale or trans-

Dealers’ Lice

the authority issuing

No person shall sell, barter,
Iver to any person under the

sign in
a statement containing his (ull
and place of
and manu-
$ never been
The seller shall promptly sign
& Copy thereof (o the treasurer '

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and shall relain
AC statement shall he deemed
rded within seven days, unless a
lished by the

dower mate, Soy ah gs,
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licensed. No retail dealer or selling
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Case 1:19-cv-00578-JMG*RT Document 92384 Filed 05/28/2¥" Page 5 of 10 PagelD.757

212 “Smatt Arms Act.” [Acr 206

1. The business shall be carried on only in the building desig-
nated in the license.

2. The license or a copy thereof, certified by the issuing author-
ity, shall be displayed on the premises where it can easily he read.

3. No pistol or revolver shall be delivered unless the purchaser
either is personally known to the seller or shall present clear evi-
dence of his identity. i

4. The seller shall faithfully comply with the requirements of
re Section 9 hereof and with all other provisions of this Act and of
i Chapter 128, Revised Laws of Hawaii 1925. A copy of the state-
: ment required by Section 9 hereof shall be entered by the seller, in
7 a book af record to he kept in his place of business and to be always
yi open to the inspection of the officers and authorized representatives
H te of the territorial government, including the police. Said book

-j

: i shall be preserved for six years. 4

Ai 5. No pistol or revolver, or imitation thereof, or placard ad- :

vertising the sale or other transfer thereof, shall he displayed in 1

: any part of said premises where it can readily be seen from the ‘

Bie. outside. : i

Het No license to sell at retail shall be granted to anyone except as :

i | provided in this section. 5

, Section 12. False information forbidden. No person shall, :
fi. in purchasing or otherwise securing delivery of a pistol or re-
iy volver, or in applying for a license to carry the same, give false

I. information or offer false evidence of his identity. *

i3 a

i Section 13. Alteration of identifying marks prohibited. No 3

i, person shall change, alter, temove, ot obliterate the mune of the

ry maker, model, manufaclner’s number or other mark of identifica q

h tion on any pistol or revolver. Possession of any pistol or re- i

de volver upon which any such mark shall have been changed, altered, “Hh

I removed, or obliterated, shall be prima facie evidence that the pos- a

i, sessor has changed, altered, removed or obliterated the same. 4

‘

i Secrion 14. Existing licenses revoked. All licenses heveto-

| fore issued within this territory permitting the carrying of pistols

i Aud Resp or revolvers shall expire at midnight of the 30th day of June, 1927.
Uh Ley

Reged Section 15. Exceptions. This Act shall not apply to antique

Le a f2o pistols or revolvers unsuitable for use as firearms.

te be PD oe .

I gy Section 16. Act supersedes local laws. The provisions of this
Act shall be effective and controlling throughout this territory,
notwithstanding the provisions of any local law or ordinance.
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Case 1:19-cv-00578-JM¢*RT Document 9389 Filed 05/28/2¢- Page 6 of 10 Pag

Ty TINTS

Act 206] “Smace Arms Act.” 213,

Section 17, Penalties. Any violation of any provision of this
Act shall constitute an offense punishable by a fine of not more
than one thousand dollars ($1,000.00) or imprisonment for not
more than one year, or both.

Srcorion 18. Section 2136 of the Revised Laws of Hawaii
1925, is hereby amended to read as follows:

“Section 2136. Report upon acquiring title to or possession of
firearms or ammuuition. Except as otherwise provided by law,
any person, firm, corporation or copartnership, residing or doing
business within the territory acquiring title or possession or ini-
porting into (by express or otherwise) or receiving within the
territory any firearm or any ammunition, capable of causing death
or inflicting great personal injury, who shall fail to file a descrip-
tion of the same in the manner provided by this chapter, shall be
deemed guilty of a misdemeanor and punished as this chapter
provides. Except in so far as the acquisition of title to or posses-
ston of a firearm or of ammunition may be reported by the dealer
or selling agent under the provisions of Section 2140 hereof, such
person, firm, curpovation or coparinership shall, within two weeks
alter such acquisition, importation or receipt, file a report with the
sheriff of the county or city and county wherein his or its place of
business, or if there be none within the territory, his or its resi-
denec, or if there be neither residence nor place of business therem,
his place of sojoumn thea ein, is located. Said report shall include
a description of the class of firearm ot fivearms or/and ammun-
tron owned by him, it or them ov in his, ils or their possession,
which description shall set forth the class of firearm ov firearms
at/and ammunition so owned and possessed, together with the
vame of the maker and the factory number, when such number
appears on such fireaun or firearms or ammunition

The Governor may, in his discretion, require the filing in like
manner, at a time or at times to be fixed by him, of like reports by
all persons, firms, corporations or copartnerships owning or pos-
sessing, at a date or at dates to be announced hy the Governor, any
firearm or ammunition within this territory ; provided, that at least
one month shall expire between the publication or announcement
of the Governor's said requirement and the time fixed far filing.
Where any person responsible for making a report hereunder is
unable to furnish all of the information herein ar hereby required,
he shall furnish as much as may be possible and in such manner
as may be requived by the sheriff.”

Section 19. Section 2137 of the Revised Laws of Hawaii 1925,
is hereby amended by inserting the words “acquired or” before the
words “in possession,” in the caption preceding the required form.
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214 “Swati Arms Act.” [Acr 206

Strike out the words “owned by him or in my possession” ap-
pearing in the certificate in the required form, and insert in lieu
thereof the words “acquired, imported or otherwise received hy
me.” At the end of Section 2137, add the following: ‘Note: In
case a special report is required by the Governor under the terms
of this section, the person making the report should strike out the
words "acquired, imported or otherwise received by me” and insert
in lieu thereof, the words “owned by me or in my possession.”

Secrion 20. Section 2138 of the Revised Laws of Hawaii
1925, is hereby amended to read as follows:

“Section 2138. Information required and furnished Governor.
It shall be the further duty of the sheriff to enter in a book to be
provided for such purpose, all information thus furnished him
relative to the ownership, acquisition, importation, delivery and
possession of firearms and ammunition, which book shall be an
exact duplication of the descriptions furnished, and, further, to
furnish to the Governor not later than the 20th day of January
and the 20th day of July of each and every year, an exact report,
a complete copy of the description and information so furnished as
aforesaid and as required by Sections 2139 and 2140 hereof.”

Section 21. Section 2139 of the Kevised Laws of Hawaii
1925, is herchy amended to reacl as follows:

“Section 2139. Further information. It shall he the duty of
every person, firm, corporation, copartnership, dealing in firearms
or/and ammunition at wholesale or at retail, including commis-
gion merchants and selling agents, to’ furnish to the shevifé of the
county or city and county in which such person resides, or where-
in such business is carried on, on the first day of January and the
first clay of July af each and every year, a list of all firearms and
ammunition in his, their or its possession, and likewise at the times
mentioned, furnish to such sheriff a list of all arms brought into
the territory. in transit or otherwise, by him, them or it during the
six months next preceding such date upon which such list and
description is required to he filed; the lists thus to be furnished by
such deaters in firearms and ammunition shall comply as nearly as
possible with the requirements of Sections 2136 and 2137, as may
be determined by such sheriff.

It shall be the duty of the sheriff to inspect the shops, stores,
warehouses and other business premises of such dealers, commis-
sion merchants and selling agents, to verify the accuracy of the
reports made and to ascerlain whether any required reports have
een omitted.”

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Case 1:19-Cv-005 78-JMERT Document 93Q! Filed 05/28/2¢- Page 8 of 10 PagelD.760

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Act 206] “SmMatt Arms Act.” 215

Section 22. Section 2140 of the Revised Laws of Hawaii
1925, is hereby amended to read as follows:

“Section 2140. Sale of firearms or ammunition; report.
Wheuever any person, firm, corporation, copartnership, dealing in
or Iceeping for sale firearms or ammunition, shall make a sale of
any firearms or ammunition or shall in any manner dispose of the
same to any person, it shall he the duty of such person, firm, cor-
poration, copartnership, promptly to make an official written report
of said transaction and to include therein such information as shall
satisfy the requirements of this chapter. A report shall be
deemed promplly made, if it is forwarded within seven days,
unless a shorter time is provided therefor in regulations estal-
lished by the Governor. As to a sale’ of firearms of any size or
cluss whalever, said report shall conform, in respect of the man-
ner of signing, of the information included, of the officials to
whom it shall be forwarded and of all other particulars, with the
requirements prescribed as to a sale of pistols or revolvers hy
Sections 9 and 1] of the Small Arms Act and a record of the facts
contained in saicl report shall be made in the book required by
Section 11 of the Small Arms Act or ina similar book of record,
open to inspection hy any proper officer or his representative.
As to a sale of amunition, said report shall be made to the sheriff
of the county wherein the sale or disposition thereof takes place;
it shall contain (1) the name of the owner; (2) in case of a sale,
the names of vendor and vendee: (3) the name of the recipient
of the ammunition, in the event that it be delivered to some one
other than the vendce ut his employee; (41) the date of the sale

or disposition ; and (5) a description of the character and quantity
of such anumunition.”

aretions 23. Section 2141 of the Revised Laws of Hawaii
19.25, is hereby amended to read as follows:

“Section 2141, No delivery without permit to acquire. No
peison owniny, possessing or entitled ta dispose of a firearm of
any class, whether or not he te» dealer in freauns, shall deliver
a hrearm to anather person, unless the halter present a permit, in
duplicate, authorizing the acquisition by him of a firearm of the
kind or class to be delivered and hearing date on a day during the
preceding thirty days. Such permits shall be issued by the sheriff
of the county or city and county wherein the applicant resides,
or, in the case of non-residents, by the sheriff of the county of
his sojourn; provided (1) that the applicant is found not to he a
habitual criminal or a person who has been convicted in a court of

the territory, or in any other court, of having committed or at-.
fempled a crime of violence, as that phrase is defined in the Small

he applicant is found not to be an

Arms Act; and (2) that t

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Case 1:19-cv-00578-JM$-RT Document 9288 Filed 05/28/29¢" Page 9 of 10 PagelD.761

216 “Smaty Arms Acr.” [Acr 206

anarchist or a person who desires the overthrow of the govern-
ment of the United States or the diminution of its territory or
domain or a person who, if armed, would tend to imperil or weaken
the government of the United States or of the territory. The
person making delivery of any firearm, whether by virtue of a
sale, a gift, a loan or otherwise, shall send to the proper sheriff,
by registered mail, one copy of the permit, presented to him as
aforesaid: such sheriff being the one by whom the permit was
issued. The other copy of the permit shall, for sixty days, be
retained hy the person making delivery as aforesaid. Such permit
shall be subject to inspection by any sheriff or officer of the
law or his representative; and it shall be the duty of the person
making delivery of the firearm to answer, to the best of his
ability, orally, or in writing, (as may be required) any reasonahle
questions by a proper officer or his representative concerning the
identity or description of the firearm so delivered.”

Secrion 24, Section 2142 of the Revised Laws of Hawaii
1925, is hereby amended to read as follows:

"Section 2142. Penalties. Any person who shall deliver or re-
ceive a frearm without complying with the requirements of Sec-
tion 2141, and any person who shall otherwise violate any pro-
vision of said section, shall be guilly of a misdemeanor and upon
conviction thereof shall he punished by a fine of not more than
five hundred dollars ($500.00) or by imprisonment for a term of
not more than one year, or by hoth such fine and imprisonment,

Any person furnishing information leading to the conviction
of any person violating any provision of Section 2141 shall be
paid an amount equal to one-half of the fine that may be imposed
against the person convicted.”

Section 25. Section 2143 of the Revised Laws of Hawaii
1925, is hereby amended hy inserting, after the first sentence in
said section, the following: ‘fhe request aforesaid shall include
(1) an expression of the belief of such citizens that the applicant
has never committed o1 attempted’ a-crime ‘Of violence, as that
phrase is defined in the Small Arms Act; that he has never been
convicted thereof anywhere and that he is not Jikely to commit or
attempt any such crime and (2) a brief statement of the facis
relating to the age, character, nativity and personal history of the
applicant, insofar as these facts are within the personal knowledge
of such responsible citizens. Such facts as are within the per-
sonal knowledge of one of them, only, shall be included in a sup-
plemental written statement signed by the person having such
knowledge.”

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Case 1:19-¢v-00578-JMSFRT Document 9299) Filed O5/28/21¢ Page 10 of 10 PagelD.762

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Act 206] “SMALL Arms Act.” 217

SEcTION 26. Section 2146 of the Revised Laws of Hawaii
1925, is hereby amended (o read as follows:

“Section 2146. Penalties. Any person who shall be found in
the possession of any firearm or firearins or any ammunition with-
out having complied with the provisions of this chapter, or who
shall fail to give, file or forward required information, reparts or
statements, or who shall otherwise violate the provisions of this
chapter in matters not covered by Section 2142 hereof, shall be
deemed guilty of a misdemeanor and upon conviction thereof,
shall be fined hy the court of appropriate jurisdiction in a sum
of not more than five hundred dollars ($500.00). Any person,
firm, corporation, copartnership, failing to file any information
herein required to be filed, shall be deemed guilty of a mis-
demeanor and upon conviction shall be fined by the court of appro-
priate jurisdiction not more than five hundred dollars ($500.00).

The divulging of official information recorded or on file in a
public office shall be punishable in like manner: provided, how-

ever, that where the information divulged has not tended, or |

been designed to encourage, or to render formidable armed resist-
ance to the law, the Ane shall not exceed twenty-five dollars

($25.00)."

Section 27. Section 2147 of the Revised Laws of Hawaii
1925, is hereby amended to read as follows:

“Section 2147. Exceptions. The requirements and provisions
of this Chapter shall not apply to those who, under Section 6 of
the Small Arms Act, ave excepted from the provisions of Sec-
tion $ of that Act.”

Section 28. Constitutionality. If any part of this Act is for
ay reason declared void, such invalidity shall nat affect the
validity of the remaining portions of this Act.

Section 29. Short title. The first seventeen sections of this
Act are herein referred to as the “Small Arms Act,” by which
designation such sections may be cited.

Section 30. Certain Acts repealed. All laws or parts of
Jaws meonsistent herewith are hereby repealed, but the provisions
of Chapter 128, Revised Laws of Hawaii 1925, are not repeated
hereby, except where plainly inconsistent herewith.

Section 31. This Act shall take effect from and alter July 1,
1927, -

Approved this 27th day of April, A. D. 1927,

W. R. FARRINGTON,
Governor of the Territory of Hawaii.
